              Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 1 of 11




                                  IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF IDAHO


In re:                                                   )      CASE NO. MC 08-6420-S-EJL
THE SPOKESMAN-REVIEW, THE                                )
ASSOCIATED PRESS, THE IDAHO                              )      RELATED CASE NO. CR07-23-N-EJL
STATESMAN, IDAHO PRESS CLUB,                             )
IDAHO NEWSPAPER FOUNDATION,                              )      MEMORANDUM ORDER
IDAHOANS FOR OPENNESS IN                                 )
GOVERNMENT, IDAHO ALLIED DAILIES,                        )
IDAHO STATE BROADCASTERS                                 )
                                                         )
ASSOCIATION, BOISE STATE RADIO,
                                                         )
KHQ-TV, KREM-TV, KXLY-TV, KTVB-TV,
                                                         )
KTRV-TV, KBCI-TV and KIVI-TV
                                                         )
                           Movants.                      )


          Before the Court are two motions by sixteen Media outlets (collectively “the Media”) for

access to sealed documents that are or will be filed in United States of America v. Joseph Edward

Duncan, III, CR07-23-N-EJL (hereinafter “United States v. Duncan”). (Dkt. Nos. 3 and 8). The

Media has also filed a motion for reconsideration. The Media’s motions are based on both the

common law and First Amendment right of access and seek access to sealed documents filed in the

case. The Media also objects to allowing the parties discretion in determining whether to file

records under seal and advocating the use of a four part procedure for sealing of a document.1 The

parties have briefed the issue and the matter is now ripe for the Court’s consideration.


          1
           In re Time, Inc., 182 F.3d 270-71 (4th Cir. 1999) deliniated a process for sealing of records
requiring the Court to 1) provide public notice that the sealing of documents may be ordered; 2) provide
interested persons an opportunity to object before sealing is ordered; 3) state the reasons, supported with
specific findings, for its decision if it decides to seal documents; and 4) state why it rejected alternatives
to sealing. (citation omitted).

Memorandum Order - 1
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 2 of 11




          Having fully reviewed the record herein, the Court finds that the facts and legal arguments

are adequately presented in the briefs and record. Accordingly, in the interest of avoiding further

delay, and because the Court conclusively finds that the decisional process would not be

significantly aided by oral argument, this motion shall be decided on the record before this Court

without oral argument. Local Rule 7.1(d)(2)(ii).

                                               Analysis

I.        Common Law Right of Access

          “We have long recognized the public’s and the media’s common-law right to inspect and

copy judicial records and documents.” United States v. Kaczynski, 154 F.3d 930, 931 (9th Cir.

1998) (citations omitted). “To assert the common-law right of access, the media is required to make

a threshold showing of a legitimate need for disclosure. Once that showing has been made, the court

must balance the media's asserted need against any asserted reasons for confidentiality.” Id. The

common law right of access to court proceedings and documents “is not absolute ... nor is it given

the same level of protection accorded constitutional rights.” United States v. Schlette, 842 F.2d

1574, 1582 (9th Cir. 1988). Instead, the common law right of access is subject to the balancing of

interests. See Schlette, 842 F.2d at 1576-77, 1581.

II.       First Amendment Right of Access

          The First Amendment Constitutional right of access affords the public greater protection than

the common law right of access balancing test. United States v. McVeigh, 119 F.3d 806, 812 (10th

Cir. 1997). In determining whether a document is included within the First Amendment right of

access, the Court must consider 1) whether the document is one which has historically been open

Memorandum Order - 2
08/orders/duncan_media_requests
              Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 3 of 11




to public inspection by the press and the public and 2) “whether public access plays a significant

positive role in the functioning of the particular process in question.” McVeigh, 119 F.3d at 812

(quoting Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8) (1986). If these inquiries reveal that

the First Amendment applies to the document in question, then the documents may only be sealed

where the First Amendment right of access is overcome by showing a compelling interest that no

alternative will adequately protect. Id.; see also Globe Newspaper Co. v. Superior Court, 457 U.S.

596, 607 (1982); Oregonian Pub. Co. v. United States Dist. Court, 920 F.2d 1462, 1466 (9th Cir.

1990).2

          “The Supreme Court has made clear that criminal proceedings and documents may be closed

to the public without violating the first amendment only if three substantive requirements are

satisfied: (1) closure serves a compelling interest; (2) there is a substantial probability that, in the

absence of closure, this compelling interest would be harmed; and (3) there are no alternatives to

closure that would adequately protect the compelling interest. The court must not base its decision

on conclusory assertions alone, but must make specific factual findings.” Oregonian Publishing, 920

F.2d at 1466 (citing Press-Enterprise II, 478 U.S. at 13-15).

          “The right ‘to inspect and copy judicial records is not absolute. Every court has supervisory

power over its own records and files, and access has been denied where court files have become a

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“Generally when courts decide issues involving the press's right to access they resolve them on First
Amendment grounds rather than on the less protective common law basis.” Kaczynski, 154 F.3d at 932-33
(Reinhardt, concurring) (citing Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 13 (1986); Globe
Newspaper, 457 U.S. at 602; Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 580 (1980); Oregonian,
920 F.2d at 1465-67; Seattle Times v. United States Dist. Court, 845 F.2d 1513, 1515-19 (9th Cir. 1988);
Associated Press v. United States Dist. Court, 705 F.2d 1143, 1147 (9th Cir. 1983)).

Memorandum Order - 3
08/orders/duncan_media_requests
              Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 4 of 11




vehicle for improper purposes.’” McClatchy, 288 F.3d at 373-74 (quoting Nixon v. Warner

Communications, Inc., 435 U.S. 589, 598 (1978). “Courts have properly refused to permit their files

to serve as reservoirs of libelous statements for press consumption or as sources of business

information that might harm a litigant's competitive standing.” Id. (quotations omitted). “[T]he

need to protect individual privacy rights may, in some circumstances, rise to the level of a

substantial governmental interest and defeat First Amendment right of access claims.” Id. (citing

cases).3 “The Supreme Court has noted that the American view of the right to inspect and copy

court documents is in contrast with English practice and embraces as an interest compelling

disclosure ‘the citizen's desire to keep a watchful eye on the workings of public agencies’ and ‘a

newspaper publisher's intention to publish information concerning the operation of government.’”

Id. (quoting Nixon, 435 U.S. at 598).

                                               Discussion

I.        Exhibit D to Docket Number 400:

          In the Government’s briefing responding to the Defendant’s motion to proceed pro se, the

Government attached Exhibit D which it refers to as “defendant’s correspondence with friends after

court proceedings and his mental testing in this case also indicates that he has a rational and factual

understanding of the proceedings. He has been able to comment on the proceedings, to identify the

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Globe Newspaper v. Superior Court, 457 U.S. 596, 607 (1982) (“the protection of minor victims of sex crimes
from further trauma and embarrassment.” ); Press-Enterprise Co. v. Superior Court of California, 464 U.S.
501, 511 (1984) (the governmental interest in protecting the privacy of jurors); Seattle Times Co. v.
Rhinehart, 467 U.S. 20, 35-36 (1984) (the governmental interest in preventing abuse of the civil discovery
process); Times-Mirror Company v. United States, 873 F.2d 1210, 1215-16 (9th Cir. 1989) (the governmental
interest in not tipping off suspects by disclosure of search warrants).

Memorandum Order - 4
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 5 of 11




persons at the proceedings and to indicate his view of the proceedings.” (CR07-23-N-EJL, Dkt. No.

400, p. 10). The Media has requested access to Exhibit D, which the Government filed under seal,

pointing to the common law and First Amendment right of access to court records filed in criminal

proceedings. Standby counsel asserts that Exhibit D should remain under seal, at least until the time

of any competency hearing, noting that “individuals who are in custody have a right not to have the

media review their private correspondence; therefore until such materials become germane at a

public hearing regarding Mr. Duncan’s competency or a trial, it would be inappropriate for them to

be publicly revealed...revealing those letters, without complete disclosure of all materials relating

to the issue of competency, would present an incomplete record to the public.” (Dkt. No. 20, p. 10).

The Government objects to the unsealing of the exhibit “until the jury has been empaneled and the

sentencing hearing has begun.” (Dkt. No. 15, p. 3). Thereafter, the Government states that properly

redacted, this exhibit may be subject to unsealing.

          The Media’s request for access to Exhibit D is made so that the public can be informed and

to ensure that a watchful eye is kept on the operations and workings of the Court and the criminal

justice system. The Court does not question the validity nor importance of this purpose. Just the

opposite, this Court recognizes the public’s legitimate interest to access documents and information

bearing on the workings of the criminal justice system. Kaczynski, 154 F.3d at 932. However, the

request at this stage of the proceedings in this case is premature in contrast to the case law cited by

the Media.

          Though the Media is not privy to these documents, the Media’s interests are well represented

in their briefing and the Court has considered the same in issuing its ruling on the request. The

Memorandum Order - 5
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 6 of 11




substance of Exhibit D was not a significant factor in the Court’s determination of the Defendant’s

competency and/or in ruling on Mr. Duncan’s motion to proceed pro se. Further, the Court has

considered the countervailing privacy interests of individuals not a party to this action but who are

a party to Exhibit D. These are private individuals; not public officials or members of public

agencies who have subjected themselves to public scrutiny. While the privacy interests of these

individuals could possibly be met by redaction of the documents, the Court concludes that at this

stage in the proceedings the unsealing of Exhibit D is premature. The Court has reviewed the sealed

document requested by the Media and determined it is properly sealed as it is non-public criminal

discovery material involving individuals not party in this matter.

          Further, the Court has a legitimate concern with protecting the compelling interest of a fair

trial by impartial jurors. The attachment is appropriately filed under seal as it relates to potential

testimony and/or evidence that may be presented in this matter or, alternatively, could be deemed

inadmissible; as such, Exhibit D is not yet germane to the issues. McVeigh, 119 F.3d at 813 (the

public is not entitled to access inadmissible evidence). Though true that the Court has admonished

the pool of potential jurors to avoid publicity over this case, the nature of this case demands that the

Court take measures to ensure a fair trial. Thus, at this time, there are no less restrictive alternatives

available to the sealing of this document to avoid the release of potential evidence. Accordingly,

the Court will deny the request to unseal Exhibit D. (Dkt. No. 8).

II.       Docket Numbers 63, 112, 159, 171:

          The parties appear to be in agreement that Docket Numbers 63, 112, 159, 171 should be

unsealed. This agreement does not include the unsealing of the attachments related to those

Memorandum Order - 6
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 7 of 11




documents to which the Government opposes unsealing. The Court has reviewed the documents and

agrees with the parties that Documents, Docket Numbers 63, 112, 159, and 171 in CR07-23-EJL

should be and are hereby unsealed. The related attachments, however, shall not be unsealed. The

privacy concerns of the sole surviving minor victim preclude the disclosure of these attachments.



III.      Mental Competency Evaluation:

          The Media’s initial motion requesting access to the mental competency evaluation stated

that it “will be a key consideration for the Court in determining whether to allow Mr. Duncan to

proceed in this death penalty case pro se and the consequent significant impact such pro se

representation could have on how the case is handled in the courtroom, including confrontation of

witnesses.” (Dkt. No. 8, p. 4). The Court entered a limited Order denying the Media’s request for

access. (Dkt. No. 11).

          The Media has now filed a motion for reconsideration asking that the mental competency

evaluation of Dr. Engle be unsealed. (Dkt. No. 18). Thereafter the defense filed an opposition to

the Media’s request arguing the evaluation should remain sealed, at least until any competency

hearing was held, because “[d]isclosure of that single report in the public record would create an

imbalanced, skewed context, given that other reports supplied by defense experts remain under

seal.” (Dkt. No. 20). Since the filing of the initial motion, the Court has found Mr. Duncan to be

competent and granted his request to proceed pro se.        In support of its initial motion, the

Media cited to Ashworth v. Bagley, 351 F.Supp.2d 786 (S.D. Ohio 2005) where the court

determined that the public’s common law right of access outweighed the defendant’s interest in

Memorandum Order - 7
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 8 of 11




sealing competency evaluations introduced in a habeas corpus proceeding in a death penalty case.

In this Court’s initial Order denying access (Dkt. No. 11), the Court distinguished Ashworth by

noting that “a litigant has less interest in privacy over such information during habeas corpus

proceedings than the same litigant has during the pretrial and trial stages of his criminal

proceedings.” (Dkt. No. 11, p. 4) (quoting Ashworth, 351 F.Supp.2d at 792)). The Court further

concluded that the competency evaluation is properly sealed in this matter in order to protect the

privacy interests of Mr. Duncan as it relates to matters involving his mental health. (Dkt. No. 11,

p. 4 (citing United States v. McVeigh, 918 F.Supp. 1452, 1467 (W.D. Okla. 1996)).

          The Court has again reviewed the arguments of the parties and Dr. Engle’s report and

concludes that it remains properly sealed at this time. Dr. Engle’s report was sought by the Court

to resolve the question of Mr. Duncan’s competency in this matter. Although the competency

question has been resolved, the basis for sealing the report from Dr. Engle remains. Mr. Duncan

retains a right to privacy in his medical and mental records at this stage in these proceedings. See

Doe v. Delie, 257 F.3d 309, 315 (3rd Cir. 2001); Ashworth, 351 F.Supp.2d at 789 (citing cases)

(“Mental evaluations...are traditionally kept from the public eye during pretrial and trial stages of

the criminal proceeding.”); McVeigh, 918 F.Supp. at 1466. The Media argues in its motion for

reconsideration, that the report should be unsealed because Mr. Duncan has waived any protected

privacy interests he has based on the positions taken by counsel at the July 17, 2008 hearing and

because the Court has repeatedly cautioned the jury to avoid media coverage in this case.

          Subsequent to the July 17, 2008 hearing, the Court found Mr. Duncan to be competent (Dkt.

Nos. 482, 483) and granting Mr. Duncan’s request to proceed pro se (Dkt. Nos. 499, 500).

Memorandum Order - 8
08/orders/duncan_media_requests
            Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 9 of 11




Representations made by now standby counsel can not be construed as a waiver by Mr. Duncan.

Further, the Court’s admonishments to the jury cited by the Media do not address Mr. Duncan’s

privacy concerns. The Media has cited no other authority for unsealing the mental competency

evaluations in their motion for reconsideration. Accordingly, the motion for access and motion for

reconsideration are denied. The report of Dr. Engle shall remain sealed.

IV.       Affidavit of Steven V.G.:

          In responding to the Media’s request for open court proceedings, the Government filed an

affidavit of Steven V.G. under seal. (Dkt. No. 5). The document was provided to counsel for the

Media. The Media has reviewed the document and argues that it should be unsealed with the names

of the individuals included therein redacted. (Dkt. No. 27). The Government states that it “supports

the Groene family’s request that [the] letter and affidavit remain sealed.” (Dkt. No. 15, p. 2).

          This document is distinct from the other records requested by the Media in that it has not

been filed in the criminal case, CR07-23-N-EJL, but only been filed in the miscellaneous case,

MC08-6420-S-EJL. Moreover, the document has been provided to the Media who was then able

to address the same in its reply brief. The Court too has reviewed the document and concludes quite

simply that nothing is to be gained from its disclosure at this time. Moreover, the sealing of this

document serves a higher value that overrides the public right of access. See United States v.

McVeigh, 918 F.Supp. 1452, 1463-64 (W.D. Okla. 1996) (noting that “the interests of persons other

than the accused may require protection as, for example, the protection of victims of sex crimes....”)

(citing Globe Newspaper, supra); see also McClatchy, supra (“The right ‘to inspect and copy

judicial records is not absolute. Every court has supervisory power over its own records and files,

Memorandum Order - 9
08/orders/duncan_media_requests
              Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 10 of 11




and access has been denied where court files have become a vehicle for improper purposes.’”)

(quoting Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978); Ashworth, 351

F.Supp.2d at 789. “[T]he need to protect individual privacy rights may, in some circumstances, rise

to the level of a substantial governmental interest and defeat First Amendment right of access

claims.” McClatchy, supra (citing cases). Accordingly, the Court denies the Media’s motion as to

Docket Number 5.

V.        Procedure for Filing Under Seal:

          The Media’s motion is based, in part, on Local Civil Rule 5.34 which states:

          (a) General Provisions

          (1) Motion to File Under Seal. Counsel seeking to file a document under seal shall
          file an ex parte motion to seal, along with supporting memorandum and proposed
          order, and file the document with the Clerk of Court. Said motion must contain
          “MOTION TO SEAL” in bold letters in the caption of the pleading.

          (2) Public Information. The motion to seal will be noted in the public record
          of the Court. However, the filing party or the Clerk of Court shall be responsible for
          restricting public access to the sealed documents, as ordered by the Court.

Though many of the documents in this case have been filed under seal, the parties in this case have

only recently began to follow the Local Rule for sealed filings. As a result, much of the record has

been sealed from the public without notice and specific findings as to the basis for the documents

being sealed and that no alternatives exists. The parties are ordered to comply with the applicable

Local Rules and make the requisite showing before making filings under seal.


          4
          Local Criminal Rule 1.1(f) incorporates the general provisions of the Local Civil Rules unless
such provisions are in conflict with or are otherwise provided for by the Federal Rules of Criminal
Procedures or Local Criminal Rules.

Memorandum Order - 10
08/orders/duncan_media_requests
           Case 1:08-mc-06420-EJL Document 28 Filed 08/05/08 Page 11 of 11




                                              ORDER

          Based on the foregoing and being fully advised in the premises, the Court HEREBY

GRANTS IN PART AND DENIES IN PART the Motions for Access (Dkt. Nos. 3 and 8) as

follows:

          1) The Motions are DENIED as to Docket Number 400, Exhibit D (CR07-23-N-EJL).

          2) The Motions are GRANTED as to Docket Numbers 63, 112, 159, 171 (CR07-23-N-EJL).

These Documents (Dkt. No. 63, 112, 159, 171) are UNSEALED.

          3) The Motions are DENIED as to the Sealed Attachments relating to Docket Numbers 63,

112, 159, 171 (CR07-23-N-EJL).

          4) The Motions are DENIED as to Docket Number 420 (CR07-23-N-EJL).

          5) The Motions are DENIED at to Docket Number 5 (MC08-6420-S-EJL).

          IT IS FURTHER ORDERED that the Motion for Reconsideration (Dkt. No. 18) is DENIED.

          The Clerk of the Court is directed to file this Order in both MC08-6420-S-EJL and CR07-23-

N-EJL. The Order shall be filed in the normal course and served upon all parties.



                                                              DATED: August 5, 2008




                                                              Honorable Edward J. Lodge
                                                              U. S. District Judge




Memorandum Order - 11
08/orders/duncan_media_requests
